                   UNITED STATES COURT OF INTERNATIONAL TRADE

BEFORE: THE HONORABLE LEO M. GORDON, SENIOR JUDGE
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                                        )
DONGKUK S&C CO. LTD.,                   )
                                        )
                  Plaintiff,            )
                                        )
      v.                                ) Court No. 20-03686
                                        )
UNITED STATES,                          )
                                        )
                  Defendant,            )
                                        )
      and                               )
                                        )
WIND TOWER TRADE COALITION,             )
                                        )
                  Defendant-Intervenor. )
_______________________________________)

                                              ORDER

       Upon consideration of the Department of Commerce’s remand redetermination,

plaintiff’s comments on the redetermination, defendant’s and defendant-intervenor’s responses

thereto, and all other pertinent papers and proceedings in this action, it is hereby

       ORDERED that the redetermination is sustained; and it is further

       ORDERED that judgment is entered in favor of the United States; and it is further

       ORDERED that the subject entries enjoined in this action shall be liquidated in

accordance with the final court decision, as provided in section 516A(e) of the Tariff Act of

1930, as amended, 19 U.S.C. § 1516a(e).



Dated: ____________, 2022                                     __________________________
       New York, NY                                                 SENIOR JUDGE
            IN THE UNITED STATES COURT OF INTERNATIONAL TRADE

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      v.                                ) Court No. 20-03686
                                        )
UNITED STATES,                          ) PUBLIC VERSION
                                        )
                  Defendant,            ) Business Proprietary Information (BPI)
                                        ) Denoted by Brackets On Pp. 9-10, 12, 14, 15
      and                               )
                                        )
WIND TOWER TRADE COALITION,             )
                                        )
                  Defendant-Intervenor. )
_______________________________________)

                 DEFENDANT’S REMAND RESPONSE COMMENTS

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July 20, 2022                                Attorneys for Defendant United States
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      and                               )
                                        )
WIND TOWER TRADE COALITION,             )
                                        )
                  Defendant-Intervenor. )
_______________________________________)

                   DEFENDANT’S REMAND RESPONSE COMMENTS

       Defendant, the United States, respectfully responds to the comments filed by plaintiff

Dongkuk S&C Co. Ltd. (DKSC) concerning the Department of Commerce (Commerce) remand

redetermination in this matter. Final Results of Redetermination Pursuant to Court Remand,

ECF No. 54 (Apr. 14, 2022) (Redetermination); Utility Scale Wind Towers from the Republic of

Korea, 85 Fed. Reg. 40,243 (Dep’t of Commerce July 6, 2020), and accompanying Issues and

Decision Memorandum (IDM) (P.D. 324) (Final Determination). The Court’s December 2021

opinion and order remanded Commerce’s final determination, and associated steel plate costs

adjustment, for further explanation pursuant to 19 U.S.C. § 1677b(f)(1)(A). Dongkuk S&C Co.

v. United States, 548 F. Supp. 3d 1376 (Ct. Int’l Trade 2021). Because Commerce has complied

with the Court’s order, and the redetermination is supported by substantial evidence and lawful,

we respectfully request that the Court sustain the redetermination.
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                                          ARGUMENT

I.     Standard Of Review

       The Court sustain Commerce’s remand redeterminations if they are “in accordance with

the remand order, are supported by substantial evidence, and are otherwise in accordance with

law.” MacLean-Fogg Co. v. United States, 100 F. Supp. 3d 1349, 1355 (Ct. Int’l Trade 2015)

(citing 19 U.S.C. § 1516a(b)(1)(B)(i)). “Substantial evidence” connotes “such relevant evidence

as a reasonable mind might accept as adequate to support a conclusion.” Consol. Edison Co. v.

NLRB, 305 U.S. 197, 229 (1938).

II.    Commerce Complied With The Court’s Remand Order

       Commerce complied with the Court’s Dongkuk decision, which ordered Commerce to

further explain its cost adjustment determination under 19 U.S.C. § 1677b(f)(1)(A).

       In its investigation, Commerce determined that DKSC reported differences in the steel

plate costs associated with various CONNUMs that were unrelated to differences in products’

physical characteristics. IDM at 19-22. Rather, Commerce determined that the timing of

DKSC’s steel plate purchases, which was not a physical characteristic, was the factor driving

steel plate cost differences among the finished wind towers. Id. Consequently, to mitigate the

significant cost differences unrelated to the products’ physical characteristics, and consistent

with its practice, Commerce weight-averaged DKSC’s reported steel plate costs across all of the

reported CONNUMs (also referred to as “smoothing”) in its final determination. Id. The Court

found Commerce’s explanation of its analysis insufficient to determine whether Commerce’s

adjustment was reasonable, and thus remanded for further explanation (or reconsideration).

Dongkuk, 548 F. Supp. 3d at 1381-82.

       Commerce further explained and clarified its determination on remand. In particular,

Commerce explained that its analysis had scrutinized all of DKSC’s purchases of steel plate of


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varying dimensions, as used to produce two different wind tower CONNUMs in DKSC’s cost

database, during an isolated time period (September 2018). Id. at 4-5 (discussing Final Cost

Calculation Memorandum at 1-2 & Att. 1, P.D. 327; C.D. 230 (June 29, 2020)). Commerce did

this to perform a “like for like comparison” that “mitigated any distortions related to the timing

of the steel plate purchases or any other factors that could distort such comparisons.” Id. at 5. In

other words, Commerce held timing constant, while examining whether DKSC’s purchase costs

varied based on factors such as CONNUMs’ differing physical characteristics or the steel plate’s

dimensions. The result was that—despite differences in the CONNUMs’ physical characteristics

and the steel plate’s dimensions—there was “virtually no cost differences on a per-unit weight

basis for the different grades and dimensions of steel plate used.” Id.1

       Commerce also discussed the significance of this result (in relation to the Court’s

concerns). Commerce explained that it had specifically analyzed the steel plate input costs for

the different CONNUMs because steel plate is the primary input that affects the weight and

height physical characteristics of the finished wind tower. Id. Hence, if the cost of the steel

plate had varied significantly, with timing held constant, it would have been due to grade and

dimensional differences in the steel plate used to produce the different types of wind towers,

which in turn would have explained the significant steel plate cost differences between

CONNUMs of differing weights and heights. Id. To the contrary, however, the analysis showed

that, after neutralizing timing effects, there was virtually no difference in cost associated with

steel plate purchases used to produce different CONNUMs. Id. at 5-6. Thus, although DKSC’s

reported per-unit steel plate costs for the two CONNUMs reflected significant differences, the




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 Commerce on remand also performed a similar analysis on four CONNUMs for May 2018,
with a similar outcome. Id. at 22, 26 & Att. 1-2.


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actual purchase price for the steel plate input was very consistent for the selected month (despite

being incorporated into wind towers with different physical characteristics). Id. at 6.

       Consequently, Commerce concluded that DKSC’s reported cost differences did not

reflect production differences associated with wind towers’ physical characteristics, but instead

reflected differences in the timing of steel plate purchases. Id. Indeed, as Commerce elaborated,

DKSC repeatedly acknowledged that the cost of steel plate fluctuated before and during the

period of investigation. Id. at 7.

       Further, in direct compliance with the Court’s concern that Commerce had not explained

how it had used CONNUM physical characteristics as a “guidepost” in its analysis, Dongkuk,

548 F. Supp. 3d at 1381, Commerce explained (based on the analysis described above) how it

had done so in comparing DKSC’s costs among CONNUMs. Redetermination at 6. This stems

from the fact that, based on the virtually unchanged per-unit costs Commerce observed, there

“should have been little difference among products of different physical characteristics.” Id. But

Commerce nonetheless did identify clear differences from the average reported steel plate costs

among the CONNUMS that, as discussed above, disappear when it isolated the steel plate

purchases’ timing while letting physical characteristics fluctuate. Id. Based on this analysis,

which uses the physical characteristics as a guidepost, Commerce concluded that steel plate cost

differences among CONNUMs resulted primarily from factors unrelated to physical difference

associated with CONNUMs. Id. at 6-7. Thus, notwithstanding DKSC’s claims, Commerce

considered the effect of physical characteristics in explaining the significant cost differences

across CONNUMs, and rooted its analysis in record evidence indicating that physical

characteristics did not explain them.




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       Finally, in compliance with the Court’s concern about Commerce’s lack of explanation

regarding its practice of adjusting unreasonable cost reporting both for finished products (overall

CONNUMs) and for individual inputs for such products, Commerce explained that practice as it

had been applied in the original final determination. Redetermination 8-9. Commerce cited its

determination in Certain Pasta from Italy, in which it smoothed the costs for semolina, an input

for pasta, upon finding that the respondents reported significantly different costs for the input,

resulting in variations in direct material costs between CONNUMs. Id. at 8 (discussing Certain

Pasta from Italy, 83 Fed. Reg. 63,627 (Dep’t of Commerce Dec. 11, 2018), and IDM at 3-11).

Commerce also highlighted its similar determination in its investigation concerning Utility Scale

Wind Towers from Canada, in which Commerce—as in this case—smoothed the respondent’s

steel plate input costs upon concluding that reported differences in those costs were based on

timing factors rather than differences in the physical characteristics of the wind towers. Id. at 9

(discussing Utility Scale Wind Towers from Canada, 85 Fed. Reg. 40,239 (Dep’t of Commerce

July 6, 2020), and IDM Cmt. 1); see also Marmen Inc. v. United States, 545 F. Supp. 3d 1305,

1314-15 (Ct. Int’l Trade 2021) (sustaining Commerce’s determination as “consistent with the

relevant statute and Commerce’s stated practice”).

       DKSC claims that Commerce failed to comply with the Court’s remand order because

Commerce’s analysis, allegedly, focuses on the dimensions and costs of the steel plate input

rather than the physical characteristics of the finished wind towers. DKSC Cmts. 2-3. Contrary

to this claim, and as shown above, the whole point of Commerce’s analysis was to examine

whether the significant differences that Commerce observed among the input costs for DKSC’s

different wind tower CONNUMS were related to the wind towers’ physical characteristics,

which Commerce did by isolating the time period and analyzing whether the costs nonetheless




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varied based either on the physical characteristics of the wind towers or the steel input. This

enabled Commerce to conclude that timing was the pertinent factor.

III.   Commerce’s Weight-Averaging Of DKSC’s Reported Steel Plate Costs Across
       CONNUMs Is Supported By Substantial Evidence And Otherwise Lawful

       DKSC alleges that Commerce failed to comply with the Court’s remand instructions and

that Commerce’s determination is unsupported, but this effectively ignores the explanation

included in Commerce’s redetermination. None of DKSC’s arguments are persuasive, and we

address each below. Overall, they do not undermine Commerce’s reasonable conclusion “that

the significant cost differences reported for the steel plate inputs for wind towers of differing

dimensions are not associated with the differences in the identified physical characteristics (i.e.,

height and weight) of the wind towers produced.” Redetermination at 2.

       A. Steel Plate Dimensions Affect Wind Tower Physical Characteristics

       Despite Commerce’s analysis in its redetermination, DKSC argues that Commerce

wrongly assumes that steel plate input dimensions dictate wind tower physical characteristics and

that this undermines Commerce’s broader determination. DKSC Cmts. 3. DKSC is mistaken;

Commerce’s analysis supports its redetermination.

       In its redetermination, Commerce stated that “the cost of the steel plate consumed is the

only factor that ultimately determines the raw material cost of the wind tower.” Redetermination

at 19 (emphasis in original); id. (“differences in the steel plate costs for varying dimensions and

grades of the consumed plate are the only raw material cost difference between CONNUMs”).

Based on the record evidence, Commerce also determined that “the weight and height product

characteristics of the completed wind tower dictate the dimensions and grades of the steel plate

consumed . . . .” Id. at 20. Specifically, in the investigation, DKSC acknowledged that “a direct

correlation exists between the dimensions of a tower and the steel plates used to produce that



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tower.” Id. at 4, 19 (citing DKSC Supp. Sec. D. Resp., at 3, P.D. 278; C.D. 190 (Feb. 12, 2020)

(emphasis by Commerce)); see DKSC Supp. Sec. D. Resp. at 3 (stating that “the design of the

tower . . . determines the steel plates that will be used”). Further, DKSC agrees in its comments

that “a relationship exists between the physical characteristics of a finished wind tower (e.g., its

height and weight) and the amount of steel plate needed to produce that tower” and that

“{i]ntuitively, taller and heavier wind towers require more plates.” DKSC Cmts. 4.

        Yet, DKSC argues that Commerce “has adopted an internally inconsistent approach that

seeks to validate its focus on the dimensions of steel plate inputs instead of the different physical

characteristics of finished wind towers.” Id. at 4. DKSC also argues that Commerce “failed to

consider that the wind tower dimensions (e.g., height and weight) impact the steel plate

consumption – and therefore dictate the steel plate costs reported by DKSC.” Id. at 6.

        DKSC misses the point.2 Commerce determined that input cost differences among the

wind tower products did not represent differences in the physical characteristics enumerated at

the outset of the investigation, but instead, were attributable to the cost of the steel plate input

based on timing. Redetermination at 4-7. Specifically, Commerce stated that “the steel plate

costs differences were unrelated to the physical characteristics of the steel plate and the

merchandise made from it (i.e., wind towers).” Id. at 4. After comparing steel plates of varying

dimensions used to produce two different CONNUMs with varying physical characteristics,

within an isolated period of time, Commerce found that the only significant cost difference

associated with the production of the wind towers was the timing of the steel plate purchases. Id.




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  Indeed, Commerce’s allegedly incorrect statement about the relationship between the tower’s
dimensions and those of the steel plates used to produce the tower is tangential to the thrust of
Commerce’s analysis—which is that the per-unit steel plate costs did not vary based on either of
those physical characteristics if timing was held constant. See Redetermination at 5-6.


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at 5-6. This meant that the cost differences reported by DKSC were the not the result of the

enumerated physical characteristics defined by the CONNUM. Id.

       By focusing on particular statements in Commerce’s remand results with which it

disagrees, DKSC ignores the totality of Commerce’s analysis. Commerce ultimately explained

why its analysis shows that the significant differences in steel plate costs across CONNUMs does

not stem from the physical characteristics of the finished wind towers. Contrary to the gravamen

of DKSC’s arguments, DKSC Cmts. 4, 6, these cost differences are not merely a function of

DKSC’s consumption of more steel for certain CONNUMS and not others because the per-unit

cost of the steel plate remained constant when time was isolated, despite DKSC reporting per-

unit costs that varied by CONNUM. Redetermination at 5-6. Thus, DKSC’s criticism of

Commerce’s statements are not a basis to overturn Commerce’s determination.

       B. The Timing Of Steel Plate Purchases, And Not Physical Characteristics Of The
          Finished Wind Towers, Affected Costs

       DKSC’s arguments that Commerce focused on the timing of DKSC’s steel plate

purchases without considering the physical characteristics of the finished wind towers lack merit.

DKSC contends, in this regard, that Commerce’s final determination and remand results both

wrongly compared “generally equivalent steel plate types,” instead of comparing “substantially

different” steel plate types. DKSC Cmts. 7. As a result, according to DKSC, Commerce’s

analysis merely compared “equivalent grades and overlapping thicknesses, widths, and lengths”

in the same month. Id. at 8-9. DKSC thus argues that Commerce’s finding of “virtually no cost-

differences” is unsurprising due to the allegedly flawed analysis. Id.

       DKSC’s argument is inaccurate. In both the final determination and remand results,

Commerce’s comparison analysis included “scores of steel plate purchase transactions that

encompassed different grades and a wide range of dimensions, which were used to produce two



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different CONNUMs (i.e., wind tower projects) with different height and weight characteristics.”

Redetermination at 21 (emphasis added). Commerce discussed these two examples in detail on

remand, explaining that, despite the wide range of grades and dimensions as well as the differing

physical characteristics of the two different CONNUMs involved, the per-unit cost of the steel

plate purchases for all of the dimensions and grades was virtually identical for the two physically

different CONNUMs ([         ] Korean won (KRW) per kilogram versus [        ] KRW per kilogram).

Id. at 20-22. Hence, when timing was held constant, the physical differences between the

CONNUMs did not result in a significant difference in per-unit steel input costs that would

support DKSC’s position. Nor, as Commerce explained, did the differences in steel grades used

for the different CONNUMs result in a significant difference in per-unit steel input costs that

would support DKSC’s position. Id. at 23. This refutes both of DKSC’s argument that

Commerce was just comparing equivalent steel plate inputs, and its broader claim that

Commerce’s analysis fails to consider the physical characteristics for the finished wind towers.

          Underscoring this point, Commerce on remand additionally compared per-unit costs for

DKSC’s steel plate purchases pertaining to four CONNUMs during May 2018. Redetermination

at 22. This corresponded to wind towers that DKSC sold to four different projects in the United

States, each involving different physical characteristics. Id. at Att. 1-2. Although the steel plate

consumed for these four projects entailed a wide range of physical characteristics (e.g., wind

tower weight ranging from [ ] to [       ] MT, and height ranging from [ ] to [      ] m), as well

as steel plate dimensions (e.g., thickness ranging from [ ] to [ ] mm, widths ranging from

[       ] to [   ] mm, and heights ranging from [       ] to [      ] mm), the per-unit cost for the

steel plate was once again very similar. Id. at 22, 26, Att. 1-2.3 Contrary to DKSC’s reporting of


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    Commerce’s recounting of the weight and height physical characteristics of the finished wind


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significantly different steel plate costs for different CONNUMs (which DKSC tries to attribute to

the CONNUMs’ different physical characteristics), the per-unit cost difference between these

physically different CONNUMs ranged only from [          ] to [   ] KRW/kg. Id.

       The negligible cost differences that Commerce identified demonstrate that “when timing

is neutralized, regardless of the wide range of dimensional plate used . . . DKSC incurred

virtually the same per-unit cost for the steel plate input to produce { } completely different

CONNUMs.” Id. at 21-22. DKSC’s response that Commerce’s analysis “is not relevant to, and

has no bearing on, whether the cost differences reported among these CONNUMs were not

attributable to their physical characteristics” is simply incorrect. DKSC Cmts. 8 n.5.

       More generally, DKSC’s contention that Commerce wrongly continues to focus on the

timing of DKSC’s steel plate purchases instead of addressing wind tower physical characteristics

mischaracterizes Commerce’s analysis. Key to Commerce’s analysis is that the CONNUMs it

compared had different physical characteristics. This is what enabled Commerce to determine

that, despite DKSC’s reporting of significant cost differences among CONNUMs, the actual per-

unit costs did not vary significantly among CONNUMs when timing was held constant. As

Commerce explained, its “analysis showed that the purchase price for input steel plate in the

selected month was very consistent, despite the fact that the steel plate was incorporated into

finished wind towers with different physical characteristics (i.e., weight and height), while

DKSC’s reported per-unit costs for the two selected CONNUMs reflected significant cost

differences for the steel plate input.” Redetermination at 6 (footnotes omitted). The differing

physical characteristics of the CONNUMs were thus crucial to Commerce’s analysis, and



towers and the consumed steel plates demonstrates both that the steel plates it used for the
comparison are not “equivalent” and that the analysis considered the role of the finished
product’s physical characteristics. Id. at 21-22.


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enabled Commerce to conclude “that the material cost differences DKSC reported in its cost

database were not attributable to the physical characteristics defining the CONNUMs.” Id.

       Finally, DKSC argues that Commerce’s purported lack of grouping by CONNUMs and

lack of discussion of the eleven enumerated physical characteristics defining the CONNUMs is

proof that Commerce did not consider the physical characteristics in its analysis. DKSC Cmts. 8

n.3. This argument fails to consider that Commerce’s analysis did include comparisons that were

grouped by CONNUMs and the differing physical characteristics they entail. See, e.g.,

Redetermination at 20-26, Att. 1-2. Hence, rather than merely demonstrating that “similar steel

plate inputs with similar dimensions and grades purchased in the same month had similar costs,”

DKSC Cmts. 9, Commerce’s analyses support Commerce’s cost-smoothing determination.

       C. Commerce’s Clerical Error In Listing Units Of Measure In Its Redetermination
          Is Not A Basis To Overturn The Determination

       Commerce admits to its mistaken use of centimeters rather than millimeters in listing

steel plate dimensions on pages 21 to 22 of the redetermination. DKSC claims that this error is

sufficiently egregious to be cause for discounting Commerce’s entire remand analysis and

indicates that “Commerce has not based its finding on substantial evidence.” DKSC Cmts. 11.

Notably, however, DKSC does not deny the accuracy of the ranges listed, aside from the unit of

measure. Hence, Commerce’s clerical error in listing the unit of measure does not undermine the

results and import of the agency’s analysis. Regardless of the correct unit of measure, the figures

still demonstrate the broad range of steel plate dimensions that Commerce used in its analysis.

       D. Record Evidence Supports Commerce’s Finding That Per-Unit Steel Costs Were
          Not Related To The Physical Characteristics Of The Finished Wind Towers

       DKSC contends that the evidence Commerce cited actually supports the conclusion that

DKSC’s reported costs reflect the physical characteristics of the wind towers. DKSC Cmts. 11-




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13. In this regard, DKSC first claims that percentages that Commerce listed in its preliminary

cost calculation memorandum to denote the broad range of DKSC’s average reported steel plate

costs among CONNUMs are actually the “percentages by which Commerce adjusted DKSC’s

reported plate costs to align them to the average reported costs.” Id. at 12 (discussing percentage

range listed in Redetermination at 6 (emphasis in original)). DKSC further claims that it

identified the mistake to Commerce, which allegedly “acknowledged the error” but “did not

change its recitation of the inaccuracy.” Id.

       Commerce addressed this claim in the redetermination—explaining the mathematical

difference between Commerce’s and DKSC’s version of the calculation and that DKSC’s version

did not alter Commerce’s findings. Redetermination at 23-24. Indeed, Commerce explained that

“{e}ven under DKSC’s methodology, the steel plate costs vary from [          ] percent to [      ]

percent” from the average. Id. at 24. Hence, Commerce still found that there were significant

differences in DKSC’s steel costs, and that the differences were not related to the wind tower

physical characteristics. Id. DKSC’s suggestion that there was actually not a significant

difference in its reported steel plate costs is unsupported.

       Commerce’s redetermination also addressed DKSC’s additional arguments regarding the

record evidence. For example, DKSC claims that Commerce’s statement that “there should have

been little difference” in costs among certain CONNUMs is speculation and entirely unsupported

by any analysis or empirical evidence. DKSC Cmts. 12 (quoting Redetermination at 6). To the

contrary, Commerce’s preceding analysis indicated why it made the statement: Commerce had

“computed the CONNUM-specific reported steel plate costs on a per-unit weight basis.”

Redetermination at 6. But its analysis “showed that the purchase price for input steel plate in the

selected month was very consistent . . . while DKSC’s reported per-unit costs for the two




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selected CONNUMs reflected significant cost differences for the steel plate input.” Id.

Commerce’s statement merely describes the dissonance between DKSC’s reporting and the

results of Commerce’s analysis, illustrating why Commerce concluded that the significant cost

differences that DKSC reported did not reflect the physical characteristics of the CONNUMs.

       Similarly, Commerce in the redetermination addressed DKSC’s claims that the highest

and lowest steel input costs that DKSC reported merely reflect the largest and smallest finished

wind towers. Compare DKSC Cmts. 12-13 with Redetermination at 24-25. Commerce

explained that DKSC’s focus on the CONNUM corresponding to the wind tower with the

smallest physical characteristics is misplaced because, notwithstanding that fact, the steel plate

for the CONNUM “was purchased in 2017, during a period when steel plate costs were low.”

Redetermination at 24 (citing DKSC Supp. Sec. D. Resp., at 2-3, P.D. 278; C.D. 190). As

Commerce further highlighted, DKSC repeatedly acknowledged that the cost of steel plate

fluctuated due to the timing of the steel plate purchases before and during the period of

investigation. Id. at 26 (citing DKSC Supp. Sec. D. Resp., at 2; DKSC Cost Verification Report,

at 18-19, P.D. 307; C.D. 221 (Apr. 17, 2020)). Thus, “it is logical based on the timing of the

steel plate purchase costs for this CONNUM that the per-unit cost would be low, not because of

the physical characteristics of the wind tower, but because of the timing of the purchases of steel

plate.” Id. at 24-25.

       Regarding the CONNUM DKSC identified as corresponding to the largest and heaviest

wind tower, Commerce explained that DKSC’s claim was factually incorrect because the

CONNUM with the highest reported steel plate costs was actually one whose physical

characteristics were smaller, and thus inconsistent with DKSC’s contentions (leading DKSC to

drop this argument before the Court). Id. at 25.




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       The foregoing demonstrates that, contrary to DKSC’s claims, Commerce considered and

weighed the information to which DKSC refers in its comments brief, but ultimately disagreed

with DKSC’s conclusion. DKSC’s “mere disagreement” with Commerce’s weighing of record

evidence is not a basis to overturn Commerce’s determination. Gov’t of Argentina v. United

States, 542 F. Supp. 3d 1380, 1395 (Ct. Int’l Trade 2021) (citation omitted).

       E. Record Evidence Supports Commerce’s Finding Of Significant Cost Differences
          Unrelated To Wind Towers’ Physical Characteristics

       DKSC next claims that Commerce’s analysis is flawed because it compares only a subset

of the steel plate costs corresponding to particular CONNUMs in particular months. DKSC

Cmts. 13-14. Commerce, however, explained the basis for its analysis: “Commerce’s analysis

was performed within the same month to reflect a ‘like for like’ comparison that mitigated any

distortions related to the timing of the steel plate purchases or any other factors that could distort

such comparisons.” Redetermination at 5. DKSC suggests that Commerce was required to

compare all of the CONNUMs produced during the investigation for Commerce’s analysis to be

valid. DKSC Cmts. 13. But assuming such a thing were even feasible while still isolating the

timing factor, there is no such requirement under 19 U.S.C. § 1677b(f)(1)(A). In any event,

Commerce on remand analyzed data for a number of additional CONNUMs, while also detailing

how the steel cost data for one particular CONNUM increased over time, and found that this

evidence further “supports that timing is the main factor affecting the significant cost differences

for the wind tower.” Redetermination at 26-27.

       DKSC also reprises its contentions that “Commerce has not even demonstrated that any

steel plate cost differences across CONNUMs were significant,” because “only a minor variance

exists in DKSC’s reported steel plate costs.” DKSC Cmts. 13-14. Commerce, however, found

that the variance ranged from [      ] to [   ] percent. Redetermination at 23-24 (citing Prelim.



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Cost Calculation Memorandum, at 2 & Att. 3, Column f, P.D. 268; C.D. 183 (Feb. 4, 2020)).

Commerce further explained that, under both DKSC’s and Commerce’s calculations, steel plate

costs varied widely. Id. at 23-24. Although DKSC claims that differences in steel plate costs

were insignificant, even DKSC admits that the variance from the average (let alone each other)

reached 5, 10, or above 25 percent. DKSC Cmts. 14, Ex. 2. Such variance is far from minor.

        F. Commerce’s Weight-Averaging Of DKSC’s Reported Steel Plate Costs Across
           CONNUMs Is In Accordance With Law

        Lastly, DKSC argues that the statute and agency practice do not permit Commerce to

smooth costs without a reasonable justification, and that the redetermination fails to justify

Commerce’s smoothing of steel plate costs across CONNUMs. DKSC Cmts. 14-16.

        DKSC cites Hot-Rolled Steel from Korea as an instance in which Commerce declined to

smooth costs based on its analysis of the record in that case. DKSC Cmts. 14 (citing Hot-Rolled

Steel Flat Products from the Republic of Korea, 84 Fed. Reg. 12,660 (Dep’t of Commerce Mar.

7, 2022), and IDM pp. 16-17). In that case, however, Commerce determined not to smooth costs

because its concluded that “within groups of similar CONNUMs, the reported direct material

costs are reasonably consistent with the group average direct material costs.” Hot-Rolled Steel

from Korea IDM at 16. That is not akin to Commerce’s findings in this case. DKSC nonetheless

argues, that unlike Hot-Rolled Steel from Korea, Commerce did not group CONNUMs to

support smoothing DKSC’s steel plate costs, and that evidence indicates that DKSC’s costs have

minimal variance if averaged by weight, height, and number of tower sections. DKSC Cmts. 15.

        Aside from the fact that the Hot-Rolled Steel from Korea proceeding is a separate case

with a different record, the evidence in this case contradicts DKSC’s claim. As we explain

above—and Commerce explained on remand—even using DKSC’s version of the variance

calculation, the steel plate costs still vary from [    ] to [    ] percent from the average.



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Redetermination at 24. Moreover, Commerce did group CONNUMs by month in its analysis,

stating that it “identified all purchases of steel plate of varying dimensions . . . that occurred

within an isolated period of time (i.e., September 2018), that was used to produce two different

CONNUMs reported in DKSC’s cost database.” Id. at 4-5 (citation omitted). Commerce

conducted a similar analysis for May 2018 by comparing costs for four different CONNUMs in

that month. Id. at 22, Att. 1-2. Commerce’s analysis supports its finding that purchase timing

was the main factor affecting the significant cost differences for the wind towers. Id. at 26-27.

        DKSC next argues that Pasta from Italy stands for only the proposition that Commerce

may engage in cost smoothing when cost differences exist among CONNUMs based on an input

that is itself a physical characteristic of the finished product, rather than fluctuating input costs

generally. DKSC Cmts 15-16 (citing Certain Pasta from Italy, 83 Fed. Reg. 63,627 (Dep’t of

Commerce Dec. 4, 2018), and IDM at 9). However, consistent with Commerce’s reliance on

Pasta from Italy as an example of its practice to smooth costs based on differences for both

overall products and individual inputs, Commerce explained that “{w}hen there is an absence of

meaningful physical characteristics in the input, Commerce will smooth costs for that input.”

Redetermination at 8 (citing Pasta from Italy IDM at 3-11). The key for Commerce to apply cost

smoothing is the need to address distortions when Commerce encounters cost differences that are

attributable to factors beyond differences in products’ physical characteristics. Redetermination

at 4, 9 (citations omitted). That is what Commerce found in this case—and it does not depend on

whether the steel plate input’s specification also constitutes one of the physical characteristics

defining different CONNUMs. See 19 U.S.C. § 1677b(f)(1)(A) (indicating that records must

“reasonably reflect” production costs); cf. NEXTEEL Co. v. United States, 355 F. Supp. 3d 1336,




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1361-62 (Ct. Int’l Trade 2019) (sustaining determination focusing on cost differences for hot-

rolled steel coil input).

        Finally, despite citing other Commerce determinations for support, DKSC attempts to

distance itself from one of Commerce’s most clearly analogous determinations: Commerce’s

determination to similarly smooth steel plate input costs in Wind Towers from Canada. DKSC

Cmts. 16 (claiming that determination is not “any way relevant”); but see Utility Scale Wind

Towers from Canada, 85 Fed. Reg. 40,239, at IDM Cmt. 1 (smoothing steel plate input costs);

Marmen, 545 F. Supp. 3d at 1314-15 (sustaining determination). As in this case, Commerce in

the Canada investigation found that there should be minimal, if any, cost differences for the steel

plate input, and that cost differences that the respondent reported were based on timing rather

than differences in the wind towers’ physical characteristics. Redetermination at 9. Given that

Wind Towers from Canada involved a similar determination for the same product, and applied

the smoothing adjustment based on cost fluctuations of the steel plate input, it is highly relevant.

                                         CONCLUSION

        For these reasons, we respectfully request that the Court sustain the redetermination.

                                                      Respectfully submitted,

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                             CERTIFICATE OF COMPLIANCE

       I hereby certify that this brief complies with the word limitation set forth in the Court’s

April 21, 2022 scheduling order and contains 4,997 words, excluding the parts of the brief

exempted from the word limitation. In preparing this certificate of compliance, I have relied on

the word count function of the word processing system used to prepare the brief.


                                      /s/ Joshua E. Kurland


July 20, 2022
